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   15
   16                          UNITED STATES DISTRICT COURT
   17                        CENTRAL DISTRICT OF CALIFORNIA
   18                                  WESTERN DIVISION
   19
      DOES 1-6, on behalf of themselves and )    No.: 2:21-cv-03254-RGK-MAR
   20 all others similarly situated,        )
                                           )     NOTICE OF MOTION AND
   21               Plaintiffs,            )     MOTION FOR CLASS
                                           )     CERTIFICATION; MOTION FOR
   22                                      )
                           v.              )
                                                 PRELIMINARY INJUNCTION;
   23                                      )     DECLARATIONS; EXHIBITS;
        UNITED STATES OF AMERICA, and )          PROPOSED ORDER
   24   MERRICK GARLAND, in his official )
   25   capacity as United States Attorney )
        General,                           )     DATE:       9/7/21
   26                                      )     TIME:       9:00 a.m.
                           Defendants.     )     CTRM:       850 Roybal Fed. Bldg.
   27    _________________________________
   28
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    1         PLEASE TAKE NOTICE that on September 7, 2021, at the Roybal Federal Building
    2   and U.S. Courthouse, 255 East Temple Street, Los Angeles, CA 90012, Courtroom
    3   850, 8th Floor, Class Representative Plaintiffs DOES 1-6 (“Plaintiffs”), on behalf of
    4   themselves and all others similarly situated, hereby move for class certification and
    5
        for a preliminary injunction. This motion is based on Federal Rule of Civil Procedure
    6
        23, 18 U.S.C. §983, all other applicable statutes and rules of civil procedure, all
    7
        relevant case law, the Local Rules of this Court, the attached memorandum of points
    8
        and authorities, and upon any other oral and/or documentary evidence which may be
    9
        adduced at the hearing on this motion.
   10
              This motion is made following a conference with opposing counsel on July 16,
   11
   12   2021, pursuant to Local Rule 7-3.

   13
        Dated: July 26, 2021             Respectfully submitted,
   14
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   15                                    A Professional Law Corporation
   16                                    RICHARD M. BARNETT
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   19
   20                                    /s/ Eric Honig
   21                                    ________________________________
                                         ERIC HONIG
   22                                    Attorneys for Plaintiffs and the Class
   23
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    1        E.      Plaintiffs, on behalf of themselves and all others similarly situated,
                     hereby move the Court to enjoin the government from civilly
    2
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    1                                    I. INTRODUCTION
    2
              Plaintiffs DOES 1-6, on behalf of themselves and all others similarly situated,
    3
        request the Court to allow them and the putative class members to use a pseudonym to
    4
        file claims in any judicial civil forfeiture action filed by the government relating to the
    5
    6   seized USPV safe deposit boxes. They move the Court to certify three classes of
    7   putative class members seeking such relief.
    8
              Pursuant to 18 U.S.C. §983(a)(1)(F), Plaintiffs further move the Court to enter a
    9
        preliminary injunction enjoining the government from civilly forfeiting property seized
   10
        from USPV boxes for which the government provided inadequate and unconstitutional
   11
   12   seizure notices, or provided no notice at all, pending any potential judicial forfeiture
   13   proceedings involving this property. Plaintiffs also move, pursuant to Federal Rule of
   14
        Criminal Procedure 41(g), that the Court order the return of property that was stored in
   15
        USPV safe deposit boxes for which the government did not serve or publish a notice of
   16
        seizure, or provided inadequate notice.
   17
   18                                    II. BACKGROUND
   19   A.    The FBI seizes Plaintiffs’ property.
   20
              Since 2011, US Private Vaults (“USPV”) operated a private safe deposit box
   21
        facility, and rented between 600 and 1000 boxes to hundreds of customers who kept non-
   22
        contraband property, including U.S. currency, gold and jewelry. Plaintiffs Does 1-6
   23
   24   maintained the following boxes, respectively: 1) box numbers 5006 and 4105; 2) #5006
   25   and #4105, 3) #6710, 4) #4300, 5) #400, and 6) #40. Only the box holder or their
   26
        designee can open their box, through encrypted biometric information and their own key.
   27
   28                                               1
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    1    ECF 23, Civil Minutes, p. 2 (order denying TRO).
    2
              After a grand jury indicted USPV (but no individuals) for various offenses, federal
    3
        law enforcement agents searched USPV, seized all of the privately-held boxes pursuant
    4
        to a criminal seizure warrant, and then opened and searched and seized the contents of
    5
    6   each individual box (even though none of the box holders was identified in the search
    7   warrant as being part of the criminal investigation or indictment). Id.
    8
              However, based on the defendant government’s representations in the seizure
    9
        warrant affidavit that the warrant would only “authorize the seizure of the nests of the
   10
        boxes themselves, not their contents”, the warrant specifically disallowed agents from
   11
   12   conducting a criminal search or seizure of the contents of the safe deposit boxes.
   13   Instead, the warrant required that government agents “shall follow their written inventory
   14
        policies to protect their agencies and the contents of the boxes,” and “shall inspect the
   15
        contents of the boxes in an effort to identify their owners in order to notify them so that
   16
        they can claim their property.” Appendix to ECF 20 (underlined emphasis in original).
   17
   18   Paragraph 108 of the redacted warrant affidavit further stated:
   19         By seizing the nests of safety deposit boxes, the government will
              necessarily end up with custody of what is inside those boxes initially.
   20
              Agents will follow their written inventory policies to protect their
   21         agencies from claims of theft or damage to the contents of the boxes,
              and to ensure that no hazardous items are unknowingly stored in a
   22         dangerous manner. Agents will attempt to notify the lawful owners of the
              property stored in the boxes on how to claim their property, such as posting
   23
              that information on the internet or at USPV itself, or by contacting the
   24         owners directly. In order to notify the owners directly, agents will, in
              accordance with their policies regarding an unknown person’s property,
   25         look for contact information or something which identifies the owner.
   26
        Id. (emphasis added).
   27
   28                                               2
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    1         Footnote 40 to the affidavit further states that “[t]he FBI policy regarding taking
    2
        custody of an unknown person’s property provides, in part, that agents ‘inspect the
    3
        property as necessary to identify the owner and preserve the property for safekeeping.’
    4
        The inspection ‘should extend no further than necessary to determine ownership.’”
    5
    6   Id. (emphasis added). Thus, the warrant made it clear that the government was allowed
    7   to inspect and seize the contents of the individual boxes for the limited purpose of
    8
        identifying the rightful owners of the box contents and to ensure the safety of those
    9
        contents.
   10
        B.    The government nevertheless initiated a criminal investigation and
   11
              searched and seized the contents of every box.
   12
              The government, however, has refused to return Plaintiffs’ property unless they
   13
        identify themselves. ECF 23, p. 2.6 As Plaintiffs alleged, the government confirmed that
   14
   15   it intends to criminally investigate them and other box holders if they identify
   16   themselves, and that the burden has been placed on them to convince the FBI that they
   17
        obtained their property legally.     “Thus, for Plaintiffs to vindicate their Fourth
   18
        Amendment right to be free from unreasonable searches and seizures, they must forfeit
   19
        their Fifth Amendment right against self-incrimination.” Id., p.3.
   20
   21         In denying the TRO, this Court held that “to the extent Plaintffs wish to continue
   22
   23    6
             After filing their Class Action Complaint in this case seeking various types of
        declaratory and injunctive relief, Plaintiffs applied for a temporary restraining order
   24   (“TRO”) requesting relief as to some of the Complaint’s causes of action. ECF 6, pp. 10-
        13. The government opposed, arguing that Plaintiffs “misunderstood” the FBI’s claims
   25   procedure, which has “nothing to do with asset forfeiture,” which “has not yet even
        commenced.” ECF 16, 11:1-13. It further argued that, using the March 22, 2021
   26   execution of the search warrant, the government would have 60 days to send notice of
        the seizure of any the box holders property, and Plaintiffs could then assert their rights
   27   to contest forfeiture proceedings. Id., at 12:16-27.
   28                                               3
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    1   to prosecute this claim anonymously, this issue is premature as the Government has not
    2
        filed a motion to require Plaintiffs to identify themselves.” Id., p. 5 (emphasis added).
    3
        The Court further stated Plaintiffs had another avenue to seek return of their property
    4
        that does not involve engaging in the FBI’s claims process, i.e., they may bring a claim
    5
    6   for return of property under Federal Rule of Criminal Procedure 41(g), which the Court
    7   noted Plaintiffs already have done in their Class Action Complaint. Id., pp. 5-6.
    8
        C.    The FBI commences administrative forfeiture proceedings, but the
    9         Court holds that the FBI’s seizure notices are inadequate.
   10         The FBI then instituted administrative civil forfeiture proceedings against the
   11
        property belonging to Plaintiffs and the putative class members that was seized from the
   12
        USPV safe deposit boxes. See Exhibit A, Notice of Seizure and Initiation of
   13
        Administrative Forfeiture Proceedings (including Plaintiffs’ box numbers 5006, 6710,
   14
   15   4300, 400, and 40).2
   16         According to the FBI, Plaintiffs and the class members had until June 24, 2021 to
   17
        file a claim with the FBI contesting forfeiture of their property. Id., ¶II.A, II.B, and II.I.
   18
        Citing to 18 U.S.C.§983(a)(2)(C) and 28 U.S.C. §1746, the Notice stated that a claim
   19
        must only 1) be filed in writing, 2) describe the seized property, 3) state the ownership
   20
   21   or other interest of the claimant, and 4) be made under oath, subject to penalty of perjury
   22   or meet the requirements of an unsworn statement under penalty of perjury. Id., ¶II.C.
   23
        The Notice also stated that filing of a timely claim will stop the administrative forfeiture
   24
        proceeding – meaning the FBI no longer can forfeit the property on its own – and that
   25
   26   Plaintiffs, who remain anonymous to the FBI, learned of the existence of this Notice
        2

      of Seizure only indirectly, since the government did not serve that notice on them or their
   27 counsel, but on USPV’s attorney Michael Singer. Declaration of Eric Honig, ¶3.
   28                                                 4
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    1   the FBI will forward the claim to the U.S. Attorney’s Office for further proceedings. Id.,
    2
        ¶II.G.
    3
                 In a TRO in a related case, however, this Court held that the FBI’s Notice of
    4
        Seizure did not comply with due process or controlling case law, because it did not
    5
    6   provide either 1) the factual basis, or 2) the specific statutory provisions that the
    7   government maintained justified forfeiture of the specific property seized from each
    8
        specific USPV box. Snitko v. United States, No. 2:21-cv-4405-RGK-MAR, ECF 52, p.
    9
        4. Based on the FBI’s May 20, 2021 inadequate forfeiture notice, the Court subsequently
   10
        preliminarily enjoined the government from civilly forfeiting the property of two USPV
   11
   12   box holders “without first sending forfeiture notices that identify the specific factual and
   13   legal basis for the Government’s determination to commence civil forfeiture
   14
        proceeding.” Snitko, ECF 58, p. 5.
   15
        D.       The Court confirms that USPV box holders may file administrative
   16            forfeiture claims using a pseudonym and thus remain anonymous.
   17
                 In the meantime, Plaintiffs were left with the Hobson’s choice between filing
   18
        claims in response to the FBI’s constitutionally inadequate notice or potentially losing
   19
        their property to government forfeiture. They thus sought a second TRO prohibiting the
   20
   21   FBI from rejecting administrative forfeiture claims filed by box holders using a
   22   pseudonym. Though it denied the TRO, the Court explicitly stated that the government
   23
        “cite[d] no federal statute, regulation, or procedural rule that requires claimants in an
   24
        administrative forfeiture proceeding to identify themselves by their legal names, nor is
   25
        the Court aware of such legal authority.” The Court further stated that it “presumes that
   26
   27   the Government will conduct the administrative forfeiture proceedings in a manner
   28                                                5
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    1   consistent with law.” ECF 29, p. 3. Consequently, Plaintiff DOES 1-6 all filed
    2
        administrative forfeiture claims to the property in their USPV safe deposit boxes using
    3
        a pseudonym, which the FBI accepted; they wish to continue contesting forfeiture of
    4
        their property using a pseudonym. Declarations of DOES 1-6, ¶¶4-5; Exhibit B, FBI
    5
    6   Acceptance Letters for claims of DOES 1 and 2, and for DOES 3, 5 and 6.
    7   E.    The number of putative class members.
    8
              The government has commenced administrative forfeiture proceedings against the
    9
        contents of over 400 safe deposit boxes at USPV. Exhibit A, FBI Notice of Seizure (sent
   10
        to USPV’s attorney Michael Singer). Plaintiff DOES 1 and 2 filed administrative
   11
   12   forfeiture claims to the currency seized from box 5006, and DOE 3 filed an
   13   administrative forfeiture claim to the currency seized from box 6710. Declarations of
   14
        DOES 1, 2 and 3, at ¶4.
   15
              According to the FBI, however, it has not yet identified a contact person for about
   16
        100 USPV safe deposit boxes. Exhibit C, e-mail from FBI Supervisory Special Agent
   17
   18   Jessie T. Murray. The owners of those boxes thus remain anonymous and have not
   19   received written notice of the seizure of their property.
   20
              In addition, 122 boxes of seized currency listed on the U.S. government website’s
   21
        published notices of seizure are not connected with an identified name. Exhibit D, list
   22
        of published notice of boxes with unidentified box holders. Thus, if the government
   23
   24   continues to try to forfeit USPV box holders’ currency in judicial forfeiture proceedings,
   25   at least 122 box holders (plus DOES 1-6) would be within a putative class of the owners
   26
        of property held in USPV boxes who remain anonymous while seeking return of their
   27
   28                                               6
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    1   property. See also Exhibit E, infra.3
    2
              The FBI’s global Notice of Seizure included Box #5006. Exhibit A, p. 4 (Asset ID
    3
        No. 21-FBI-002956). Plaintiff DOES 1 and 2 maintain interests in the currency in that
    4
        box. Plaintiff DOE 2 received notice of the seizure of Box #5006, however DOE 2's
    5
    6   name had been listed at USPV as the “contact” person for that box. Declarations of
    7   DOES 1 and 2, ¶4. The FBI’s June 28, 2021 published notice listed 141 USPV boxes
    8
        that similarly identified a contact person. Exhibit E, FBI “Official Notification” of
    9
        seizures posted on the government’s forfeiture.gov website on June 28, 2021 (boxes with
   10
        contact names highlighted in red).4
   11
   12         Some of the DOE Plaintiffs have not received any written or published notice at
   13   all of the seizure of their personal property, which also was not listed on the FBI’s global
   14
        Notice of Seizure. Specifically, DOES 1 and 2 have never received notice of the seizure
   15
        of the currency they held in Box #4105, and thus have not filed an administrative
   16
        forfeiture claim. They also received no notice for the gold they held in Box #5006.
   17
   18   Declaration of DOE 1, ¶¶4, 5; Declaration of DOE 2, ¶¶4, 5. Also, DOE 3 stored gold
   19   and jewelry in Box #6710, but never received any notice of seizure for that property.
   20
        Declaration of DOE 3, ¶4.
   21
              The FBI’s global notice (sent to USPV’s attorney) listed 10 pages showing 115
   22
   23
              3
                Exhibit E (6/28/21 FBI published notices) lists 108 boxes without identifying
   24   a box holder name.
   25         Thus, similar to Plaintiff DOE 2, if the government continues to try to forfeit
              4

      USPV box holders’ property in judicial forfeiture proceedings, at least another 141 box
   26 holders fall into a putative class of the actual owners of property in USPV boxes (in
      addition to the contact persons) who wish to remain anonymous and seek return of their
   27 property using a pseudonym.
   28                                                7
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    1   boxes containing personal property such as gold and jewelry. Exhibit A, pp. 11-20
    2
        (Asset ID ## 21-FBI-003330 to 3444. The FBI’s published notices, however, do not
    3
        include any of that personal property seized from those USPV boxes; the government
    4
        published notice only as to the currency seized from most of those boxes. See Exhibit
    5
    6   E. Thus, like DOES 1, 2 and 3, about 114 box holders also did not receive written or
    7   published notice of seizure of their non-currency personal property.
    8
                          III. MOTION FOR CLASS CERTIFICATION
    9
        A.    Legal Standard.
   10
              One or more members of a class may sue or be sued as representative parties on
   11
   12   behalf of all members if: (1) the class is so numerous that joinder of all members is
   13   impracticable; (2) there are questions of law or fact common to the class ); (3) the claims
   14
        or defenses of the representative parties are typical of the claims or defenses of the class;
   15
        and (4) the representative parties will fairly and adequately protect the interests of the
   16
        class. Fed.R.Civ.P. 23(a). In other words, a proposed class must meet the requirements
   17
   18   of numerosity, commonality, typicality, and adequacy of representation. Mazza v. Am.
   19   Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).
   20
              If Rule 23(a) is satisfied, then, a party seeking to maintain a class action also must
   21
        “satisfy through evidentiary proof at least one of the provisions of Rule 23(b).” Comcast
   22
        Corp. v. Behrend, 569 U.S. 27, 33, 133 (2013). Plaintiffs seek to certify
   23
   24   the proposed class under Rule 23(b) or, alternatively, Rule 23(b)(1)(A). Under Rule
   25   23(b), a class action may proceed if “the party opposing the class has acted or refuses to
   26
        act on grounds that apply generally to the class, so that final injunctive relief or
   27
   28                                                8
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    1   corresponding declaratory relief is appropriate respecting the class as a whole; or the
    2
        court finds that the questions of law or fact common to class members predominate over
    3
        any questions affecting only individual members, and that a class action is superior to
    4
        other available methods for fairly and efficiently adjudicating the controversy.
    5
    6   Fed.R.Civ.P. 23(b)(2) and (3).
    7         Under Rule 23(b)(1), a class action may proceed if prosecuting separate actions
    8
        by or against individual class members would create a risk of “inconsistent or varying
    9
        adjudications with respect to individual class members that would establish incompatible
   10
        standards of conduct for the party opposing the class.”
   11
   12         The party seeking certification bears the burden of showing that each of the four
   13   requirements of Rule 23(a) and at least one requirement of Rule 23(b) have been met.
   14
        Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186, amended, 273 F.3d 1266 (9th
   15
        Cir. 2001). Rule 23 “grants courts no license to engage in free-ranging merits inquiries
   16
        at the certification stage.” Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455,
   17
   18   466, 133 S.Ct. 1184, 185 L.Ed.2d 308 (2013). “Merits questions may be considered to
   19   the extent – but only to the extent – that they are relevant to determining whether the
   20
        Rule 23 prerequisites for class certification are satisfied.” Id. A district court, however,
   21
        “must consider the merits if they overlap with the Rule 23(a) requirements.” Ellis v.
   22
        Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir. 2011).
   23
   24   B.    The Rule 23 requirements for a class action are met in this case.
   25         In their Class Action Complaint, Plaintiffs seek injunctive and/or declaratory relief
   26
        to allow them to contest U.S. government forfeiture of their property using a pseudonym
   27
   28                                                9
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    1   to identify themselves, or, in the alternative, an order allowing them to file claims and
    2
        litigate their case under seal, or an order appointing a special master to administer claims
    3
        filed in their own names (out of the purview of the defendant government). ECF 1, ¶¶43-
    4
        45; Prayer for Relief, ¶¶c and d. Plaintiffs also seek return of their property pursuant to
    5
    6   Federal Rule of Criminal Procedure 41(g). ECF 1, ¶¶39-41.
    7         The Class Action Complaint initially proposed a broad class defined as follows:
    8
        “All persons and/or entities who maintained a safe deposit box at US Private Vaults,
    9
        located at 9182 West Olympic Boulevard, Beverly Hills, CA 90212 during the month of
   10
        March 2021.” ECF 1, ¶14. After discovering additional facts, Plaintiffs now request
   11
   12   certification of three more narrowly-defined classes:
   13         Class 1: All persons and/or entities who maintained a safe deposit box at
              US Private Vaults, whose box was searched and the contents seized by the
   14
              FBI on or about March 22, 2021, who received the government’s
   15         constitutionally-inadequate notice of seizure of their property but filed an
              administrative forfeiture claim, and seek return of their property in judicial
   16         forfeiture proceedings using a pseudonym and/or through sealed filings or
              the appointment of a special master to administer their claims.
   17
   18         Class 2: All persons and/or entities who maintained a safe deposit box at
              US Private Vaults, whose box was searched and the contents seized by the
   19         FBI on or about March 22, 2021, and who have received no written or
              published notice of seizure, and seek return of their property using a
   20
              pseudonym, and/or through under sealed filings or the appointment of a
   21         special master to administer their claims.
   22         Class 3: All persons and/or entities who maintained a safe deposit box at
              US Private Vaults, whose box was searched and the contents seized by the
   23
              FBI on or about March 22, 2021, but received a constitutionally-inadequate
   24         notice, and seek return of their property using a pseudonym, and/or through
              sealed filings or the appointment of a special master to administer the relief
   25         they seek.
   26
        The Rule 23 requirements for a class action are met in this case:
   27
   28                                               10
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    1         1. Numerosity. “In general, courts find the numerosity requirement satisfied when
    2
        a class includes at least 40 members,” and the Ninth Circuit has found the requirement
    3
        satisfied for a class with just 20 members. Rannis v. Recchia, 380 F. App’x 646, 651
    4
        (9th Cir. 2010). Where only injunctive or declaratory relief is sought, courts have held
    5
    6   that the numerosity requirement is relaxed so that even speculative or conclusory
    7   allegations regarding numerosity are sufficient to permit class certification. 5 Moore's
    8
        Federal Practice § 23.22[3][b] (3d ed. 2003); see also Goodnight v. Shalala, 837 F.
    9
        Supp. 1564, 1582 (D. Utah 1993)(numerosity requirement satisfied where plaintiffs
   10
        could only speculate as to the size of a class, so that "when injunctive relief is the only
   11
   12   relief requested, even speculative or conclusory representations regarding numerosity
   13   will suffice to permit class certification."). Because plaintiffs seek injunctive and
   14
        declaratory relief, the numerosity requirement therefore is relaxed and plaintiffs may rely
   15
        on the reasonable inference arising from plaintiffs' other evidence.
   16
              Class 1: Plaintiff DOES 1-6 filed administrative forfeiture claims using a
   17
   18   pseudonym. The government has not identified a contact person for about 100 USPV
   19   safe deposit boxes, and over 120 boxes listed on the U.S. government website’s
   20
        published notices of seizure are not connected with an identified name. DOES 1-6 and
   21
        the owners of the property seized from those boxes thus remain anonymous. These box
   22
        holders are putative members of Class 1. Plaintiffs therefore request the Court to appoint
   23
   24   DOES 1-6 as class representatives. In addition, they seek the appointment of DOE 2 to
   25   represent an additional 141 box holders whose “contact” person was served but who
   26
        wish to remain anonymous in judicial forfeiture proceedings in seeking return of their
   27
   28                                               11
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    1   property.
    2
                 Class 2: Plaintiffs seek the appointment of DOES 1, 2, 3 and 6 to represent a
    3
        putative class of more than 100 box holders who received neither written nor published
    4
        notice of seizure of their non-currency personal property, and wish to remain anonymous
    5
    6   in judicial forfeiture proceedings while seeking return of property pursuant to
    7   Fed.R.Crim.P. 41(g), inter alia. See motions for a preliminary injunction and for the
    8
        return of property, infra.
    9
                 Class 3: Plaintiffs seek the appointment of DOES 1-6 to represent a putative class
   10
        of more than 400 box holders who received constitutionally inadequate notice of the
   11
   12   seizure of their property and/or received no written seizure notice. They would represent
   13   those box holders listed on the government’s global notice of seizure who seek to move
   14
        for the return of their property but wish to remain anonymous in any judicial forfeiture
   15
        proceedings. See motions for a preliminary injunction and for the return of property,
   16
        infra.
   17
   18            The above parties fit within the proposed classes, and joinder of all of them
   19   undeniably would be impracticable, so the numerosity requirement is met here.
   20
                 2.    Commonality. To satisfy the commonality requirement, a representative
   21
        plaintiff must show that the putative class members suffered the “same injury,” i.e., that
   22
        their claims depend on a “common contention.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
   23
   24   338, 350, 131 S.Ct. 2541, 180 L.Ed.2d 374 (2011) (quotation marks omitted). But class
   25   members need not have every issue in common: Commonality requires only “a single
   26
        significant question of law or fact” in common. Mazza, 666 F.3d at 589; see also Wal-
   27
   28                                                12
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    1   Mart, 564 U.S. at 359, 131 S.Ct. 2541 (“We quite agree that for purposes of Rule
    2
        23(a)(2) even a single common question will do.”). [C]ommon questions may center on
    3
        ‘shared legal issues with divergent factual predicates [or] a common core of salient facts
    4
        coupled with disparate legal remedies.’” Jimenez v. Allstate Ins. Co., 765 F.3d 1161,
    5
    6   1165 (9th Cir. 2014)(quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir.
    7   1998)); see also Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015, 1029 (9th Cir.
    8
        2012) (“Where the circumstances of each particular class member vary but retain a
    9
        common core of factual or legal issues with the rest of the class, commonality exists.”).
   10
              Here, Plaintiffs and all putative class members would have in common their
   11
   12   desired opportunity to seek the return of their property while remaining anonymous to
   13   the government. Plaintiffs and putative class members who received inadequate or no
   14
        notice of the seizure also seek return of their property pursuant to Fed.R.Crim.P. 41(g)
   15
        and would have that in common.
   16
              The requirement of commonality also is satisfied because “the constitutional issue
   17
   18   at the heart of each class member’s claim for relief is common.” Rodriguez v. Hayes,
   19   591 F.3d 1105, 1123 (9th Cir. 2010). Here, the common constitutional question for all
   20
        proposed class members is their Fifth Amendment right to not be forced to incriminate
   21
        themselves in exchange for seeking return of their property seized by the government.
   22
              3.     Typicality: Under the “permissive standards” of Rule 23(a)(3), a
   23
   24   “representative's claims are ‘typical’ if they are reasonably co-extensive with those of
   25   absent class members; they need not be substantially identical.” Hanlon v. Chrysler
   26
        Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). “The purpose of the typicality requirement
   27
   28                                              13
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    1   is to assure that the interest of the named representative aligns with the interests of the
    2
        class.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992).
    3
              The typicality requirement is satisfied here, as Plaintiffs and other members of the
    4
        class all raise and will raise the same constitutionally-based arguments. The plaintiffs
    5
    6   and proposed class representatives all had their property (illegally) seized by the
    7   government, all are seeking to recover their property, and are all now confronted with
    8
        the potential violation of their Fifth Amendment constitutional rights against self-
    9
        incrimination if they want to obtain return of their property.
   10
              4.     Adequacy: Rule 23(a)(4) states that before a class can be certified, a court
   11
   12   must find that “the representative parties will fairly and adequately protect the interests
   13   of the class.” This requirement turns on two questions: (1) whether “the named plaintiffs
   14
        and their counsel have any conflicts of interest with other class members”; and (2)
   15
        whether “the named plaintiffs and their counsel [will] prosecute the action vigorously
   16
        on behalf of the class.” Hanlon, 150 F.3d at 1020. The adequacy requirement is based
   17
   18   on principles of constitutional due process, and so a court cannot bind absent class
   19   members if class representation is inadequate. Hansberry v. Lee, 311 U.S. 32, 42-43,
   20
        61 S.Ct. 115, 85 L.Ed. 22 (1940); Hanlon, 150 F.3d at 1020.
   21
              Only conflicts that are fundamental to the suit and that go to the heart of the
   22
        litigation prevent a plaintiff from meeting the Rule 23(a)(4) adequacy requirement. In
   23
   24   re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 942 (9th Cir. 2015) (quoting
   25   William B. Rubenstein et al., 1 Newberg on Class Actions § 3.58 (5th ed. 2011)).
   26
              There are no conflicts here. The proposed class representatives here seek the same
   27
   28                                               14
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    1   relief that they are requesting on behalf of the class as a whole. And the proposed class
    2
        counsel have extensive experience litigating class actions, including several class actions
    3
        involving federal asset forfeiture procedures, along with asset forfeiture defense and the
    4
        prosecution and/or defense of criminal cases. See Declarations of Eric Honig, Paul
    5
    6   Gabbert, Richard Barnett, Michael Chernis, Eric Shevin and Devin Burstein in support
    7   of class certification. The requirement of adequacy is therefore satisfied.
    8
              A ruling on class certification is necessary at this time and not premature. First,
    9
        ¶7 of this Court’s Standing Order requires that “[f]or any action purporting to commence
   10
        a class action. . . the plaintiffs must file a Motion for Class Certification no later than 90
   11
   12   days from the date the complaint was served. This means the deadline for Plaintiffs to
   13   file their motion for class certification is in only 30 days, i.e., August 26, 2021.
   14
              Second, the deadline for the government to serve its notice of seizure (60 days
   15
        after the seizure) was on or about May 22, 2021. The FBI’s global Notice of Seizure
   16
        (Exhibit A) is dated May 20, 2021. If box holders received written notice at that time,
   17
   18   their deadline to file an administrative forfeiture claim with the FBI would have been 35
   19   days after the notice letter, or by June 24, 2021. See 18 U.S.C. §983(a)(2)(B). The U.S.
   20
        Attorney’s Office would then have to file a judicial complaint for forfeiture within 90
   21
        days of the filing of the administrative claim, which would be on or before September
   22
        14, 2021. See 18 U.S.C. §983(a)(3)(A). The hearing date for Plaintiff’s motion for class
   23
   24   certification is on September 7, 2021, leaving the Court only seven days to make the
   25   decision whether to certify a class of pseudonymous judicial claimants.
   26
              This is important, because more than 100 box holders who wish to remain
   27
   28                                                15
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    1   anonymous to the government while contesting judicial forfeiture should be filing claims
    2
        shortly thereafter. If so, then this Court would face over 100 separate motions from box
    3
        holders seeking permission to litigate using a pseudonym – or, conversely, more than
    4
        100 separate motions by the government seeking to strike claims filed with a
    5
    6   pseudonym.5
    7          Consequently, a class action is superior to the Court hearing over 100 individual
    8
        motions in 100 separate cases, to fairly and efficiently adjudicate the controversy. Also,
    9
        prosecuting separate actions by or against individual class members would create a risk
   10
        of inconsistent or varying adjudications. Plaintiffs and the putative class members all
   11
   12   would fit within the proposed classes and joinder of all of them undeniably would be
   13   impracticable.
   14
              Finally, the government is holding onto the property seized from Plaintiffs and the
   15
        box holders in violation of 18 U.S.C. §983(a)(1)(F), which mandates return of seized
   16
        property for which notice of seizure has not been served within 60 days, depriving box
   17
   18   holders of due process. Plaintiffs will continue to suffer irreparable injuries while the
   19   government violates due process and the federal statute.
   20
              Accordingly, since the Plaintiffs have met the Rule 23 requirements of numerosity,
   21
        commonality, typicality and adequacy, they request that the Court allow them to proceed
   22
   23
              5
                If not this Court, then Judge Scarsi may be the one to face over 100 separate
   24 motions in over 100 judicial civil forfeiture actions, since the related criminal case is
      assigned to his courtroom. See United States v. U.S. Private Vaults, Inc., CR No. 2:21-
   25 cv-0106-MCS; see also Local Rule 83-1.3.2 (the parties must promptly file a Notice of
      Related Cases whenever a civil forfeiture case and a criminal case arise from the same
   26 or a closely related transaction, happening, or event, or call for determination of the same
      or substantially related or similar questions of law and fact, inter alia).
   27
   28                                              16
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    1   with this case representing the interests both of themselves and of the class of USPV
    2
        safe deposit box holders who are similarly situated – who also wish to remain
    3
        anonymous during these proceedings. Plaintiffs therefore request that the Court certify
    4
        Class 1, Class 2 and Class 3.
    5
    6                  IV. MOTION FOR PRELIMINARY INJUNCTION
    7         Based on the Court’s prior orders and the provisions of 18 U.S.C. §983(a)(1)(F),
    8
        the government should be enjoined from seeking forfeiture of the property stored in all
    9
        seized USPV boxes because of the government’s inadequate, unconstitutional seizure
   10
        notices, and ordered to return such property to its owners pending any potential judicial
   11
   12   further proceedings involving that property.
   13         Plaintiffs, on behalf of themselves and all others similarly situated, thus move the
   14
        Court, pursuant to Federal Rule of Criminal Procedure 41(g), to order the return of all
   15
        personal property seized from USPV safe deposit boxes for which the government did
   16
        not serve or publish a notice of seizure, or did not serve or publish notice that complied
   17
   18   with due process, pending further proceedings.
   19   A.    Legal standard for a preliminary injunction.
   20
              The purpose of a preliminary injunction is generally to preserve the status quo
   21
        pending a judgment on the merits. Regents of California v. Am. Broad. Companies, Inc.,
   22
        747 F.2d 511, 514 (9th Cir. 1984). To obtain such injunctive relief, the moving party
   23
   24   must show 1) a likelihood of success on the merits; 2) a likelihood of irreparable harm
   25   to the moving party in the absence of preliminary relief; 3) that the balance of equities
   26
        tips in favor of the moving party; and 4) that an injunction is in the public interest.
   27
   28                                              17
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    1   Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). When the government
    2
        is a party, the last two factors merge. E. Bay Sanctuary Covenant v. Biden, 993 F.3d
    3
        640,668 (9th Cir. 2021). The court also may apply a sliding scale test balancing the
    4
        Winter test elements “so that a stronger showing of one element may offset a weaker
    5
    6   showing of another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th
    7   Cir. 2011). The moving party has the burden of persuasion. Hill v. McDonough, 547
    8
        U.S. 53, 584 (2006).
    9
        B.    This Court previously held that the defendant government’s notice of seizure
   10         did not comply with due process and thus preliminarily enjoined the
              government from civilly forfeiting the property of USPV box holders .
   11
   12         This Court held that the FBI’s Notice of Seizure did not comply with due process
   13   or controlling case law, because it did not provide either 1) the factual basis, or 2) the
   14
        specific statutory provisions that the defendant government maintained justified
   15
        forfeiture of the specific property seized from each specific USPV box. Snitko, supra,
   16
        2:21-cv-4405-RGK-MAR, ECF 52, p. 4. Based on the FBI’s May 20, 2021 inadequate
   17
   18   forfeiture notice, this Court subsequently preliminarily enjoined the government from
   19   civilly forfeiting the property of two USPV box holders “without first sending forfeiture
   20
        notices that identify the specific factual and legal basis for the Government’s
   21
        determination to commence civil forfeiture proceeding.” Id., ECF 58, p. 5.
   22
              Accordingly, the government is collaterally estopped from arguing in this case that
   23
   24   its seizure notices to Plaintiffs and the putative class members were adequate or
   25   effective, since the Court previously held that the same notices did not comply with due
   26
        process. United States v. U.S. Currency in the Amount of $228,536.00, 895 F.2d 908 (2d
   27
   28                                              18
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    1   Cir.)(applying collateral estoppel to prevent relitigation in a civil forfeiture proceeding
    2
        of a Fourth Amendment issue raised during suppression hearings at prior criminal trial),
    3
        cert. denied, 495 U.S. 958, 110 S.Ct. 2564, 109 L.Ed.2d 747 (1990).
    4
        C.    18 U.S.C. §983(a)(1)(F) provides that the government “shall”return seized
    5
              property to its owner if the required notice of seizure is not provided within
    6         60 days.
    7         In any nonjudicial civil forfeiture proceeding under a federal civil forfeiture
    8
        statute, the government is required to send written notice to interested parties within 60
    9
        days after the date of a federal seizure, unless it files a civil judicial forfeiture action
   10
        against the property within those 6o days. 18 U.S.C. § 983(a)(1)(A)(I, ii);6 see also, e.g.,
   11
   12   United States v. Real Property Located at 475 Martin Lane, Beverly Hills, CA, 545 F.3d
   13   1134, 1141 (9th Cir.2008)(government has 60 days after seizing property to send written
   14
        notice to interested parties”); United States v. Miscellaneous Firearms, Explosives,
   15
        Destructive Devices, Ammunition, 399 F.Supp.2d 881, 882 (C.D.Ill.2005)(government
   16
        must commence either an administrative or judicial forfeiture proceeding within 60 days
   17
   18   after seizure of the property).
   19         If the government does not send notice of a seizure of property in accordance with
   20
        subparagraph (A) to the person from whom the property was seized, and no extension
   21
        of time is granted, it shall return the property to that person, although without
   22
        prejudice to the right of the government to commence a forfeiture proceeding at a later
   23
   24   time. 18 U.S.C. §983(a)(1)(F); see also United States v. $10,000.00 in U.S. Currency,
   25
              6
               Before forfeiting property, the seizing agency must publish notice for at least
   26 three weeks and must also send “[w]ritten notice of seizure together with information on
      the applicable procedures ... to each party who appears to have an interest in the seized
   27 article.” 19 U.S.C. §1607(a).
   28                                               19
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    1   2007 WL 2330318, at *1 (S.D.Cal. Aug. 13, 2007)(granting summary judgment and
    2
        return of property due to government's failure to provide timely notice after seizure);
    3
        United States v. $200,255.00 in U.S. Currency, 2006 WL 1687774 (M.D.Ga. June 16,
    4
        2006)(“in the absence of timely notice, the seizing agency must return the seized
    5
    6   property”); United States v. Assorted Jewelry with an Approximate Value of
    7   $219,860.00, 386 F.Supp.2d 9 (D.Puerto Rico 2005)(dismissing civil judicial forfeiture
    8
        action and returning property to claimant where the government failed to provide timely
    9
        notice after seizure).
   10
              Accordingly, federal forfeiture law in no uncertain terms requires that if the
   11
   12   government does not provide a property owner with the required notice of seizure (i.e.,
   13   one that complies with due process of law) within 60 days after the seizure date, then it
   14
        must return the property to its owner, pending any further proceedings. See United
   15
        States v. $11,500.00 in U.S. Currency, 710 F.3d 1006, 1016 (9th Cir. 2013)(failure to
   16
        provide timely notice does not require the government to return the property if it has
   17
   18   subsequently commenced a forfeiture proceeding).
   19   D.    Rule 41(g)
   20
              “A person aggrieved by an unlawful search and seizure of property or by the
   21
        deprivation of property may move for the property's return. .. . If it grants the motion, the
   22
        court must return the property to the movant, but may impose reasonable conditions to
   23
   24   protect access to the property and its use in later proceedings.” Fed.R.Crim.P. 41(g).
   25         When the property in question is no longer needed for evidentiary purposes, the
   26
        person from whom the property is seized is presumed to have a right to its return, and the
   27
   28                                                20
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    1   government has the burden of demonstrating that it has a legitimate reason to retain the
    2
        property. The government must justify its continued possession of the property by
    3
        demonstrating that it is contraband or subject to forfeiture. United States v. Harrell, 530
    4
        F.3d 1051, 1057 (9th Cir. 2008). An object is contraband per se if its possession,
    5
    6   without more, constitutes a crime (e.g., cocaine), i.e., if there is no legal purpose to
    7   which the object could be put. United States v. McCormick, 502 F.2d 281, 288 (9th
    8
        Cir.1974); see also United States v. Bolar, 569 F.2d 1071, 1072 (9th Cir.1978)(per
    9
        curiam)(explaining that while diamond rings are not contraband per se, negatives of
   10
        Federal Reserve Notes are).
   11
   12         Plaintiffs are not requesting return of any contraband by this present action.
   13   However, they seek return of their property herein pending any potential civil judicial
   14
        forfeiture proceedings.7
   15
        E.    Plaintiffs, on behalf of themselves and all others similarly situated, hereby
   16         move the Court to enjoin the government from civilly forfeiting property
              seized from USPV boxes for which the seizure notices were constitutionally
   17
              inadequate, and to enjoin the government from holding onto their property
   18         and order the government to return the property to them pending further
              proceedings.
   19
              Based on the above facts and law, Plaintiffs and the putative class members are
   20
   21   entitled to return of their property pending the potential filing of any judicial forfeiture
   22   proceedings. DOES 1 and 2 have never received notice of the seizure of the currency
   23
        they held in Box #4105. They also received no notice for the gold they held in Box
   24
   25         7
               A Rule 41(g) motion is properly denied once a civil forfeiture action has been
      filed. United States v. U.S. Currency $83,310.78, 851 F.2d 1231, 1235 (9th Cir. 1988)
   26 (“[W]hen a civil forfeiture proceeding has been filed, the claimant has adequate remedies
      to challenge any fourth amendment violation .... [Thus,] there is no need to fashion an
   27 equitable remedy [pursuant to Rule 41(g)] to secure justice for the claimant.”).
   28                                               21
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    1   #5006. Also, DOE 3 owns gold and jewelry held in Box #6710, but never received a
    2
        notice of seizure for that property. Since their safe deposit boxes and property were
    3
        seized on March 22, 2021, the 60-day deadline for the government to serve notice of the
    4
        seizure expired on May 21, 2021, more than two months ago. Accordingly, they are
    5
    6   entitled to the return of their property pending any further proceedings (if no judicial
    7   forfeiture proceeding has been filed) pursuant to 18 U.S.C. §983(a)(1)(F).
    8
              In addition, according to this Court, the FBI’s seizure notices regarding the
    9
        currency taken from the boxes maintained by DOES 1-6 were constitutionally
   10
        inadequate. See, e.g., Exhibit E, published notice to box holders showing no factual
   11
   12   basis for forfeiture whatsoever, and identifying only “18 USC 981(a)(1)(C)” as the sole
   13   statutory basis. It should be undisputed that a seizure notice that violates due process is
   14
        the functional equivalent of no notice at all. Although Plaintiffs have submitted
   15
        administrative forfeiture claims to contest forfeiture of their property, they also are
   16
        entitled to the return of their property pending any further proceedings (i.e., if no judicial
   17
   18   civil forfeiture proceeding have yet been filed against the property) pursuant to 18 U.S.C.
   19   §983(a)(1)(F) because of this insufficient notice that did not comport with the statute or
   20
        due process.
   21
              Moreover, more than 100 putative class members received no notice of the seizure
   22
        of their personal property, such as gold and jewelry, and the government’s global notice
   23
   24   (Exhibit A) was constitutionally inadequate . Accordingly, pursuant to this Court’s
   25   preliminary injunction entered in the Snitko case, supra, this Court should enjoin the
   26
        government from civilly forfeiting any property (Class 3) for which the government
   27
   28                                                22
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    1   issued a notice of seizure that does not comport with due process. In addition, each of
    2
        Plaintiffs and other USPV box holders in Class 3 who received constitutionally-
    3
        inadequate notice are entitled to return of their property pending further proceedings if
    4
        no judicial civil forfeiture proceeding has been filed against the property.8
    5
    6         Plaintiffs have shown a likelihood of success on the merits, since it cannot be
    7   disputed that both their due process rights and the forfeiture statute have been violated
    8
        by the government. They also have shown a likelihood of irreparable harm in the
    9
        absence of preliminary relief, since “the deprivation of constitutional rights
   10
        ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990,
   11
   12   1002 (9th Cir. 2012)(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); Fyock v. City
   13   of Sunnyvale, 25 F. Supp. 3d 1267, 1282 (N.D. Cal. 2014)(“[i]rreparable harm is
   14
        presumed if plaintiffs are likely to succeed on the merits because a deprivation of
   15
        constitutional rights always constitutes irreparable harm”).
   16
              Finally, the balance of equities tips in favor of Plaintiffs and the box holders and
   17
   18   an injunction is in the public interest, since “it is always in the public interest to prevent
   19   the violation of a party’s constitutional rights.” Melendres, 695 at 1002 (citation and
   20
        internal quotation marks omitted).
   21
              8
                 The government has no justification for the delay in either returning the items
   22   of property or initiating forfeiture proceedings. To determine whether a delay in filing
        a civil forfeiture proceeding has resulted in a due process violation, a court should
   23   consider four factors: 1) the length of the delay; 2) the reason for the delay; 3) the
        claimant's assertion of his rights; and 4) prejudice to the claimant by the delay. United
   24   States v. $8,850 U.S. Currency, 461 U.S. 555, 564, 103 S.Ct. 2005, 2012, 76 L.Ed.2d 143
        (1983); see also United States v. $12,248 U.S. Currency, 957 F.2d 1513 (9th
   25   Cir.1991)(13-month delay was prejudicial where claimant lost a critical witness and had
        compelling verifiable evidence of a legitimate source for the seized currency). These
   26   elements are guides in balancing the interests of the property owner and the government
        to assess whether the basic due process requirement of fairness has been satisfied in a
   27   particular case. $8,850 U.S. Currency, 461 U.S. at 565.
   28                                                23
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    1         Plaintiffs therefore, on behalf of themselves and these similarly-situated putative
    2
        class members, hereby move the Court for a preliminary injunction ordering that the
    3
        government 1) is enjoined from civilly forfeiting personal property and currency as to
    4
        USPV boxes for which the government provided inadequate notice, 2) is enjoined from
    5
    6   holding onto the Plaintiffs’ and other box holders’ property pending any further judicial
    7   proceedings, and 3) shall return of the property seized from the USPV boxes pending
    8
        any further judicial proceedings.
    9
                                            V. CONCLUSION
   10
              Plaintiffs, on behalf of themselves and the class members, hereby request the
   11
   12   Court to grant certification of the proposed classes and grant Plaintiffs’ proposed
   13   preliminary injunction and order for return of property.
   14
        Dated: July 26, 2021             Respectfully submitted,
   15
   16
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   26
   27
   28                                              24
